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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF THE COMPLAINT            *                    CIVIL ACTION
OF RODI MARINE, LLC, AS                   *
OWNER AND OPERATOR                        *                    NO. 17-5394
OF THE M/V WILDCAT                        *
PETITIONING FOR EXONERATION               *                    SECTION: E(5)
FROM OR LIMITATION OF LIABILITY           *
*******************************************

SECOND SUPPLEMENTAL AND AMENDING ANSWER AND CLAIM IN RESPONSE
TO THE FIRST SUPERSEDING AND AMENDED COMPLAINT FOR EXONERATION
                FROM OR LIMITATION OF LIABILITY
       Antonio Smith, a person of the legal age of majority domiciled in the State of Mississippi,
(“Claimant”) files this Second Supplemental and Amending Answer and Claim in Response to the

First Superseding and Amended Complaint for Exoneration From or Limitation of Liability filed by

Rodi Marine Management, LLC, and GJR Marine, LLC, and would respectfully aver as follows:

                                                  A.

       Claimant desires to supplement and amend the Claim of Damages previously filed in this

matter to assert claims against Rodi Marine Management, LLC, and GJR Marine, LLC, hereinafter

“Petitioners”, to read as follows:

I. CLAIM OF DAMAGES
       1.      On or about April 18, 2017, Claimant suffered severe bodily injuries while in the

               course and scope of his employment with Fleetwood Energy LLC as he was being

               transported aboard the M/V WILDCAT, a vessel in navigation. Petitioners have filed

               this proceeding claiming to have, respectively, operated, crewed, supplied, and

               owned the M/V WILDCAT at the time of the occurrence.

       2.      Due to the negligence, carelessness and fault of Petitioners, who claim to have

               operated, crewed, supplied, and owned the M/V WILDCAT, the unseaworthiness

               of the vessel, and the failure to adequately train and supervise their crew, all of which

               was in the privity and knowledge of the Petitioners, claimant sustained severe and

               disabling bodily injuries resulting in physical impairment, pain and suffering and

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                disfigurement.

        3.      Nothing that Claimant did or failed to do caused or in any contributed to the cause

                of his injuries.

                                                B.

        Complainant desires to supplement and amend all remaining references to “Petitioner” in the

Original and First Supplemental and Amending Answer and Claim in Response to the Complaint

for Exoneration From or Limitation of Liability to “Petitioners”, and to substitute Superseding

petitioners, Rodi Marine Management, LLC, and GJR Marine, LLC in place of original petitioner,

Rodi Marine, LLC.
                                                C.

        Claimant adopts by reference those Causes of Action asserted by Fieldwood Energy, LLC

in the Second Verified Claim of Fieldwood Energy, LLC, §VII - XIII, as if copied here, in extenso.

                                                D.

        And now for Answer to the First Superseding and Amended Complaint for Exoneration From

or Limitation of Liability, Complainant avers as follows:

                                                 1.

        The allegations contained in Paragraph 1 of the First Superseding and Amended Complaint

for Exoneration From or Limitation of Liability are denied for lack of sufficient information to

justify a belief therein.

                                                 2.

        The allegations contained in Paragraph 2 of the First Superseding and Amended Complaint

for Exoneration From or Limitation of Liability are denied for lack of sufficient information to

justify a belief therein.




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                                                   3.

        It is admitted the M/V WILDCAT is a vessel that was in navigation at the time of the

occurrence made the basis of this litigation. The remaining allegations contained in Paragraph 3 of

the First Superseding and Amended Complaint for Exoneration From or Limitation of Liability are

denied for lack of sufficient information to justify a belief therein.

                                                   4.

        The allegations contained in Paragraph 4 of the First Superseding and Amended Complaint

For Exoneration From or Limitation of Liability are denied.

                                                   5.
        It is admitted that on April 18, 2017 the M/V WILDCAT was operating on the navigable

waters of the Gulf of Mexico, and that it allided with the S.T. 23 Sugar platform. The remaining

allegations contained in Paragraph 5 of the First Superseding and Amended Complaint for

Exoneration From or Limitation of Liability are denied.

                                                   6.

        It is admitted that on April 18, 2017 Complainant, Antonio Smith, was a passenger aboard

the M/V WILDCAT. The remaining allegations contained in Paragraph 6 of the First Superseding

and Amended Complaint for Exoneration From or Limitation of Liability are denied as written

and/or for lack of sufficient information to justify a belief therein.

                                                   7.

        The allegations contained in Paragraph 7 of the First Superseding and Amended Complaint

for Exoneration From or Limitation of Liability are denied for lack of sufficient information to

justify a belief therein.

                                                   8.

        The allegations contained in Paragraph 8 of the First Superseding and Amended Complaint

for Exoneration From or Limitation of Liability are specifically denied.




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                                                  9.

       The allegations contained in Paragraph 9 of the First Superseding and Amended Complaint

for Exoneration From or Limitation of Liability are specifically denied.

                                                 10.

       The allegations contained in Paragraph 10 of the First Superseding and Amended Complaint

for Exoneration From or Limitation of Liability are denied.

                                                 11.

       The allegations contained in Paragraph 11 of the First Superseding and Amended Complaint

for Exoneration From or Limitation of Liability, together with the allegations contained in the Prayer
asserted by Complainants are denied.

                                                 E.

       Claimant desires to supplement and amend the Specific Defenses asserted by Complainant,

Antonio Smith, to include the following:

       V.      SPECIFIC DEFENSES.

               V.      Twenty -Second Defense

               43.     Petitioners and their insurors have contractually waived their right to attempt

                       to limit their obligations through the assertion of the Limitation of Liability

                       Act and/or all related laws and statutes.

                                                 F.

       Claimant, Antonio Smith, re-alleges and re-avers each and every other allegation, claim,

answer and defense asserted in the Original and First Supplemental and Amending Answer and

Claim in Response to the Complaint for Exoneration From or Limitation of Liability filed by

original Petitioner, Rodi Marine, LLC, if copied herein, in extenso.




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       WHEREFORE, claimant, Antonio Smith, Jr., prays that after due proceedings are had

that judgment be rendered in his favor against petitioners, as prayed for in this pleading and in the

original and First Supplemental and Amending Answer and Claim in Response to the Complaint

for Exoneration From or Limitation of Liability, together with pre-judgment interest and post-

judgment interest, and for all costs of these proceedings, including expert fees, and for all other

general and equitable relief deemed appropriate by this Honorable Court.


                                              Respectfully submitted,

                                              GARNER & MUNOZ
                                              1010 Common Street, Suite 3000
                                              New Orleans, Louisiana
                                              Telephone:   (504) 581-7070
                                              Facsimile:   (504) 581-7083

                                              s/ John G. Munoz
                                              JOHN G. MUNOZ - #9830



                                      CERTIFICATE
       I hereby certify that a copy of the above and foregoing has been served upon all parties

herein by using the CM/ECF system and by depositing same in the United States Mail, properly

addressed, and postage prepaid, on this 20TH day of November, 2018 any non-CM/ECF participants.


                                              s/ John G. Munoz
                                              JOHN G. MUNOZ




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